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APW
F.# 2021R00258

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                PROPOSED ORDER
         - against -                                    CR 21-452 (JS)
ANTHONY LEONARDI, ET AL,

                       Defendants.

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                 Upon the application of BREON PEACE, United States Attorney for the Eastern

District of New York, by Assistant United States Attorney Andrew P. Wenzel , for an order

unsealing the above-captioned matter in its entirety.

                 WHEREFORE, it is ordered that the above-captioned matter in its entirety be

unsealed.


Dated:      Central Islip, New York
            October 29, 2021


                                                        /s/ Steven I. Locke
                                              HONORABLE STEVEN I. LOCKE
                                              UNITED STATES MAGISTRATE JUDGE
                                              EASTERN DISTRICT OF NEW YORK
